AO 458 (Rev. 06/09) Appearance of Counsel

 

UNITED STATES DISTRICT COURT
for the

Eastern District of Wisconsin

 

 

William Feehan )
Plaintiff )
v. ) Case No. 2:20-cv-1771
Wisconsin Elections Commission, et al. )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Defendant-Intervenors Wisconsins State Conference NAACP; D. Harrell; W.J. Harris, Sr.: E. Moss

 

Date: 12/08/2020 /s/ Jacob P. Conarck

 

Attorney’s signature

Jacob P. Conarck D.C. Bar No. 1620049

 

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